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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,

              v.                              Case No. 1:23-cv-00853-DAE

GREG ABBOTT, in his capacity as
GOVERNOR OF THE STATE OF TEXAS,
and THE STATE OF TEXAS,

                      Defendants.



               PLAINTIFF UNITED STATES’ REPLY IN SUPPORT OF
                   MOTION FOR PRELIMINARY INJUNCTION

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       Texas admits that, without federal authorization, it deployed a roughly 1,000-foot barrier

consisting of “multiple interconnected buoys tethered via chains to concrete blocks placed on the

bed of [a] river,” the Rio Grande, that traces the United States’ border with Mexico and is “about

200 feet wide where the buoy system is placed.” Defs’ Mem. in Opp. to Mot. for Prelim.

Injunction (“Opp.”) 5-6 (ECF 26). Texas asserts that it did this “to repel [an] invasion” of

persons and goods, id. at 20, by “discourag[ing] passage” across the Rio Grande, id. at 15. Yet,

in Texas’s view, the United States is unlikely to succeed on the merits of its Rivers and Harbors

Act (“RHA”) Section 10 claim because Texas’s Floating Barrier is somehow neither a

“structure” nor an “obstruction,” and because this particular stretch of the river is not a

“navigable river, or other water of the United States.” 33 U.S.C. § 403. Texas’s contradictory

position is without merit, and this Court should reject it.

       That is reason enough to award preliminary relief. Texas offers no rebuttal to Point II of

our motion, namely, that this Court should award a preliminary injunction to halt a Section 10

violation irrespective of whether the United States establishes irreparable injury beyond that bare

violation. Regardless, the United States has shown such injury, chiefly to its relations with

Mexico—and that was before it was determined that the bulk of Texas’s Floating Barrier

intrudes into the sovereign territory of Mexico. This intrusion would have been avoided had

Texas simply done as Congress instructed: seek and obtain federal authorization before placing

any structures or obstructions in the Rio Grande.

       Because the Floating Barrier is a single, integrated structure traversing an international

boundary, the safest and soundest means for its prompt removal is for a single actor to remove

the barrier. The Government of Mexico has requested the United States to effectuate removal of

the entire Floating Barrier and associated materials, including the portion of the barrier located in




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Mexico’s territory, in coordination with the IBWC. An order of this Court requiring removal of

the entire Floating Barrier by Defendants, in coordination with the IBWC and the U.S. Army

Corps of Engineers, will enable the United States to fulfill that request. Thus, the Court should

order Defendants to remove the entirety of their Floating Barrier in coordination with the IBWC

and the Corps, and to refrain from building any such barrier elsewhere in the Rio Grande while

litigation proceeds.

I.     The United States Will Likely Succeed on the Merits.

       The United States is likely to succeed in showing two violations of RHA Section 10:

Texas built a “structure” in a “navigable river, or other water of the United States,” and

additionally “obstruct[ed]” the “navigable capacity” of that water. 33 U.S.C. § 403. Texas

claims first that the United States has not carried its evidentiary burden to show that the Rio

Grande, at this specific location, is a water to which Section 10 applies. Texas alternatively

argues that its 1,000-foot anchored barrier is neither a structure nor an obstruction. Lastly, Texas

suggests there may be an implied exemption to the RHA’s prohibition for actions the State takes

in furtherance of its own position on immigration. All of Texas’s arguments are wrong.

       A.      The RHA Bars Unauthorized Structures and Obstructions in These Waters.

       Section 10 prohibits all unauthorized structures and obstructions in “any of the waters of

the United States,” including but not limited to “navigable river[s].” 33 U.S.C. § 403. It is well

established in Supreme Court caselaw that whether a water is “navigable” under Section 10 is

not determined solely by considering any current use in interstate or foreign commerce. Rather,

navigability may be established based on evidence of a water’s historic use or its susceptibility to

future use if reasonable improvements were made to the river to facilitate such commerce. See,

e.g., United States v. Appalachian Elec. Power Co., 311 U.S. 377, 407-09 (1940). Contrary to

Texas’s assertion, the United States has carried its burden at this stage to show that the Rio


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Grande in the vicinity of Eagle Pass, Texas, is a water subject to Section 10. See Byrum v.

Landreth, 566 F.3d 442, 446 (5th Cir. 2009) (“A plaintiff is not required to prove its entitlement

to summary judgment in order to establish ‘a substantial likelihood of success on the merits’ for

preliminary injunction purposes.”). The Rio Grande forms a nearly 1,250-mile border between

the United States and Mexico (our largest foreign-trade partner), is the central subject of

numerous treaties and federal statutes, is a vital water source for the populace and the commerce

of several States, and is historically important to commerce and travel in the Southwest. Texas’s

position that it is not a “water of the United States” is untenable.

       First, the Court cannot ignore clear evidence that Congress itself, contemporaneous with

the RHA’s enactment, acknowledged the navigability of this specific portion of the Rio Grande.

Congress had only recently enacted “[a]n act to authorize the construction of a bridge over the

Rio Grande River between the cities of Eagle Pass, Texas, and Piedras Negras, Mexico,” 23 Stat.

29 (1884), that required “free navigation of said river” to be maintained, and gave federal courts

jurisdiction over cases “arising from an obstruction or an alleged obstruction to the free

navigation thereof,” id. § 3, 23 Stat. 30 (Reply Att. 11, numbering consecutively from the

Motion’s attachments). This statute—a precursor to Section 9 of the RHA, 33 U.S.C. § 401—

created a regime closely resembling RHA Section 10, with the specific aim of protecting the Rio

Grande’s navigability near Eagle Pass. See also 42 Stat. 1482 (1923) (Reply Att. 12)

(authorizing bridge at Eagle Pass only “at a point suitable to the interest of navigation”).1

Congress used comparable language regarding navigability in a pair of 1890 statutes authorizing

other commercial projects—electric wires and water pipes—in the same vicinity. 26 Stat. 495




1
 Any contrary views of current members of Congress (e.g., as expressed by Congressional amici,
ECF 24) do not countermand the legal effect of prior Congresses’ duly enacted statutes.

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(1890); 26 Stat. 502 (1890) (Reply Atts. 13, 14). Congress’s sensitivity to navigation within this

portion of the Rio Grande reflected the actual navigation and commercial activity there in that

era.2 “When once found to be navigable, a waterway remains so.” Appalachian Elec. Power

Co., 311 U.S. at 408.

       Second, the Fort Worth District of the U.S. Army Corps of Engineers, the agency that

Congress charged with administering and enforcing Section 10, has determined that the entirety

of the Rio Grande in its jurisdiction (which includes Eagle Pass) is “navigable,” within the

meaning of the RHA. Mot. for PI Att. 8 (Shelnutt Decl. ¶ 3). Joseph Shelnutt, the Corps’

witness whom Texas deposed, cited the agency’s 1975 navigability study as the basis for the

Corps’ designation of this sweep of the river as navigable. Opp. Ex. F, Shelnutt Dep. at 48:23-

49:25, 50:6-23. That 1975 study notes intervening economic and policy developments have

prioritized other river uses and purposes over commercial navigation, including construction of

the Amistad Dam to divert significant quantities of water for irrigation. Reply Att. 15, Shelnutt

Decl. ¶ 5 & Ex. B at 15-16. The study nonetheless finds that the Rio Grande could be navigated

by some vessels in its then-current “natural condition,” i.e., with its flows reduced by dams as

noted. Id. ¶ 5 & Ex. B at 19. It also finds that “[i]mprovement of the Rio Grande [beyond its

natural condition] for navigation is physically possible”—in the entire river within the District’s



2
  See, e.g., Decl. of Joseph L. Shelnutt (Aug. 15, 2023), attaching Navigability Study, Rio
Grande, Tributaries, and Lakes, Rio Grande Basin, River Mile 275.5-610.0 (March 31, 1975)
(“1975 study”) at 26 (pdf page number) (Reply Att. 15, Ex. B at 26) (noting “a great deal of
interest … pertaining to transportation of goods along the Rio Grande” in the nineteenth century
and citing sources reflecting that steam navigation was then possible well upstream of Eagle
Pass, including one expedition that navigated “up to Babbitt’s Falls (probably RM 750),” more
than 100 miles upstream of Eagle Pass, and another account that the river was considered
navigable for “500 miles above Laredo,” again well above Eagle Pass); see also Tugwell v. Eagle
Pass Ferry Co., 9 S.W. 120 (Tex. S. Ct. 1888) (resolving dispute between ferry companies
operating between Eagle Pass and Piedras Negras).


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jurisdiction, not just the reach near Eagle Pass—but would require the “judicious[] use[]” of the

Amistad and other dams. Id. ¶ 6 & Ex. B. at 19; see also Appalachian Elec. Power, 311 U.S. at

407 (“A waterway, otherwise suitable for navigation, is not barred from that classification

merely because artificial aids must make the highway suitable for use before commercial

navigation may be undertaken.”). Though Congress’s policy choices have rendered some

portion of an otherwise navigable river “incapable of [commercial use] according to present

methods, either by reason of changed conditions or because of artificial obstructions,” the river

remains “navigable” if riparian commerce is susceptible to restoration if the policy choices

change—even after “a hundred years.” Economy Power & Light v. United States, 256 U.S. 113,

123-24 (1921).

       The Corps’ 1975 navigability study also noted long-standing legal precedent regarding

the navigability of the Texas stretch of the Rio Grande, including the United States’ treaties with

Mexico governing the use of the river,3 as well as the Supreme Court’s decision in United States

v. Rio Grande Dam & Irrigation Co., 174 U.S. 690 (1899).4 See Reply Att. 15, Ex. B at 23-25.




3
  See, e.g., 9 Stat. 928 (Reply Att. 16) (the 1848 Treaty of Guadalupe Hidalgo, declaring that, at
all points below New Mexico, “the navigation of” the Rio Grande “shall be free and common to
the vessels and citizens of both countries; and neither shall, without the consent of the other,
construct any work that may impede or interrupt, in whole or in part, the exercise of this right;
not even for the purpose of favoring new methods of navigation.”); 10 Stat. 1034 (Reply Att. 17)
(the 1853 Gadsden Treaty, identifying the upstream limit of applicability of the 1848 Treaty at a
longitudinal and latitudinal point that is near El Paso and well upstream from Eagle Pass, Texas).
4
  In Rio Grande Dam, the Supreme Court found it unnecessary to determine if a company’s
proposal to dam the river upstream, in New Mexico, violated the 1848 and 1853 treaty
provisions, as the United States had an independent duty “to preserve, for [its] own citizens, the
navigability of its navigable waters.” Id. at 700-01. The amicus brief of members of Congress
cites the Supreme Court’s remand in Rio Grande Dam for further factual development as a
reason not to award a preliminary injunction here. ECF 24 at 6. But the Court did not remand for
a determination of navigability of the Texas stretch of the Rio Grande; indeed, the Court appears
to have assumed navigability there. See 174 U.S. at 708.


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       Regarding susceptibility for future commercial use, the Corps found that while there were

no plans in 1975 to improve the Rio Grande for navigation throughout the jurisdiction of the Fort

Worth District, the river’s “natural and ordinary condition …, its volume of water, gradient and

regularity of flow do not preclude future improvement for smaller commercial craft.” Reply Att.

15, Ex. B at 27. That finding suffices to establish navigability. See Appalachian Elec. Power,

311 U.S. at 409 (“Small traffic compared to the available commerce of the region is sufficient.”).

       Texas cites (Opp. 9) the Corps’ regulations implementing the RHA’s navigability

standard but wrongly argues (Opp. 10) that a finding of navigability must rest on “existing uses

of the waterway.” Navigable waters include those that “are presently used, or have been used in

the past, or may be susceptible for use to transport interstate or foreign commerce.” 33 C.F.R. §

329.4 (emphasis added). That regulatory text is consistent not only with the Supreme Court

cases cited above, but also Fifth Circuit precedent, see Newbold v. Kinder Morgan SNG

Operator, L.L.C., 65 F.4th 175, 181 (5th Cir. 2023) (“‘[T]he extent of existing commerce is not

the test’ for navigability.”), and the Sixth Circuit standard that Texas ostensibly adopts (Opp. 9).5

       Therefore, the portion of the Rio Grande in the vicinity of Eagle Pass, Texas, is a

navigable water to which the prohibitions of RHA Section 10’s first and second clauses apply.

       B.      Texas Violated Clause 2 of RHA Section 10 by Building a “Structure.”

       Texas’s claim that its 1,000-foot floating barrier is not a “structure” is implausible. Even

Texas concedes that the catchall phrase “other structure” includes any structure that is “similar in

nature to the preceding specific terms” (Opp. 16), including the term “boom.” Texas attempts to



5
  The Congressional amici concede that a “historically navigable river” that undergoes changed
conditions due to man-made obstructions is still, under Supreme Court precedent, a “navigable
river,” and they fail to explain why changed conditions from the man-made dam diversions on
the Rio Grande should be treated differently. See ECF 24 at 8-9.


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draw a “subtle,” “directional distinction” (Opp. 14) between its Floating Barrier and a boom,

based on Texas’s (erroneous) assertion that a boom is always positioned perpendicular to the

current, whereas the majority of Texas’s Floating Barrier is positioned roughly parallel to the

current. But even if a 90° rotation could suffice to render the Floating Barrier not a “boom,” a

mere difference in spatial orientation does not make it sufficiently dissimilar to a “boom” to

remove the otherwise-covered structure from the scope of the RHA’s prohibitions.

       In any event, Texas’s directional distinction is without merit. The essence of a “boom” is

that it “obstruct[s] passage,” Boom, Webster’s International Dictionary of the English Language

(1890), whether of vessels, logs, or—in the case of Texas’s Floating Barrier—persons and

goods. Obstruction of passage may occur laterally as well as longitudinally. For example, as

Texas observes, a boom may “enclos[e] an area of water” without crossing a river. Opp. 15

(quoting Boom, Webster’s Revised Unabridged Dictionary (1913)). Moreover, it is not hard to

find descriptions and drawings of booms, contemporaneous with the RHA’s enactment, that run

longitudinally with the river. E.g., Atlee v. Union Packet Co., 88 U.S. 389, 392 (1874)

(describing boom running parallel to shore between two piers); Frank Leslie, The Great Log

Jam, Popular Monthly (July 1901), http://www.catskillarchive.com/rrextra/lgjam.Html

(depicting boom running length of river, parallel to shore).

       That the specific word “buoy” does not appear in Section 10 is irrelevant. The Floating

Barrier is not an isolated “buoy” used to “assist navigation,” Opp. 15, but a “buoy system” that,

by virtue of its sheer size and composition, functions as a “physical barrier[],” id. at 6. And even

if the floating barrier were merely a buoy, a “dolphin”—one of the structures explicitly barred by

the Act—is defined to include “a buoy.” Dolphin, Webster’s Academic Dictionary 178 (1895).




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       Texas asserts (Opp. 17) that the Floating Barrier is too impermanent to comprise an RHA

“structure.” But its own declarants attest that moving the barrier would require “several weeks,”

heavy machinery, and $300,000. Opp. Ex. C, Flossman Decl. ¶¶ 6-7; Opp. Ex. B, Escalon Decl.

¶ 14. If that were enough to exempt a structure from RHA coverage, it would render the statute a

nullity. To take one example, Texas’s archetype of a “boom”—a “strong chain cable,” Opp.

15—would be far too easily moved to be a structure covered by the Act.

       In sum, Texas is in violation of Clause 2 of Section 10.

       C.      Texas Violated Clause 1 of RHA Section 10 by “Obstruct[ing] … Navigable
               Capacity.”

       Texas argues (Opp. 12-13) that navigable capacity can only be considered in relation to

present-day commerce. But “[t]he Supreme Court has encouraged a broad interpretation of a

section 10 ‘obstruction,’” and the Fifth Circuit has approved the Corps’ consideration of

“possible future effects in navigable waters.” Vieux Carre Prop. Owners, Residents & Assocs.,

Inc. v. Brown, 875 F.2d 453, 462-63 (5th Cir. 1989). The Floating Barrier is a threat to

navigation, not just across the river but also up and down the river, as “whoever’s steering [a]

vessel would have to take note of and make sure they avoid it.” Opp. Ex. F, Shelnutt Dep.

72:14-74:5.

       Texas asserts without foundation (Opp. 13-14) that Section 10 prohibits only obstructions

“extending out into rivers and set perpendicular to the current.” That limitation does not appear

in the text, and Texas cites no authority finding that an object did not obstruct a river because it

was not so positioned. On the contrary, courts routinely find “obstruction” by objects that do not

extend perpendicularly from the shore. The Supreme Court held industrial solids deposited into

a river were an obstruction. United States v. Republic Steel Corp., 362 U.S. 482, 485 (1960).

The Fifth Circuit held that a sunken schooner was an obstruction. United States v. Raven, 500



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F.2d 728, 731 (5th Cir. 1974). If both “floating particles” and “an 83 ft. schooner” create

obstructions, there is no doubt that the 1000-foot Floating Barrier does.

       D.      The Self-Defense Clause Does Not Excuse Texas’s Section 10 Violations.

       Texas argues (Opp. 18-21) that it constructed the Floating Barrier pursuant to the Self-

Defense Clause, U.S. Const. art. I, § 10, cl. 3, because Texas purportedly is being “invaded,” and

that the Court accordingly must interpret the RHA to exempt Texas’s facially unlawful conduct.

This is not a “constitutional avoidance” defense, but a sweeping claim that States may ignore the

will of Congress whenever their Governors unilaterally declare an “invasion.” Texas asks the

Court not to “choos[e] between competing plausible interpretations of a statutory text”—its

argument is divorced from and makes no reference to the RHA’s words—but rather to “render

[the] statute a chameleon, its meaning subject to change depending on the presence or absence of

constitutional concerns in each individual case.” Clark v. Martinez, 543 U.S. 371, 382 (2005).

The RHA’s text is not fairly amenable to Texas’ construction, under which it could create any

structure or obstruction in any water of the United States to fend off a self-declared invasion.

       In any event, there are no constitutional concerns that bear on the interpretive question

here because the political-question doctrine bars consideration of Texas’s “invasion” allegation.

Courts of appeals have uniformly held that what constitutes an “invasion” triggering the Self-

Defense Clause is a nonjusticiable political question. See California v. United States, 104 F.3d

1086, 1090-91 (9th Cir. 1997); New Jersey v. United States, 91 F.3d 463, 469-70 (3d Cir. 1996);

Padavan v. United States, 82 F.3d 23, 28 (2d Cir. 1996); Chiles v. United States, 69 F.3d 1094,

1097 (11th Cir. 1995). Whether and when an “invasion” occurs is a matter of foreign policy and

national defense, which the Constitution specifically commits to the federal government. See

Padavan, 82 F.3d at 28; California, 104 F.3d at 1091; New Jersey, 91 F.3d at 470. That

commitment is especially strong when the purported invasion also involves “the subject of


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immigration and the status of aliens,” which the Constitution assigns exclusively to Congress.6

Arizona v. United States, 567 U.S. 387, 394-95 (2012); New Jersey, 91 F.3d at 469.

       In particular, “there are no manageable standards to ascertain whether or when an influx

of illegal immigrants should be said to constitute an invasion.” California, 104 F.3d at 1091;

accord New Jersey, 91 F.3d at 470. For much the same reason, the Fifth Circuit has dismissed as

nonjusticiable a claim that the United States’ purported “fail[ure] to control illegal immigration”

violated the Naturalization Clause, finding that there are no “judicially discoverable standards for

determining whether immigration control efforts by Congress are constitutionally adequate.”

Texas v. United States, 106 F.3d 661, 664-65 (5th Cir. 1997).

       Even if Texas’s Self-Defense Clause argument were justiciable, it would fail.

Immigration is not the kind of “invasion” contemplated by the Self-Defense Clause. An invasion

is “armed hostility from another political entity, such as another state or foreign country that is

intending to overthrow the state’s government.”7 Padavan, 82 F.3d at 28; California, 104 F.3d

at 1091; see Debates and Other Proceedings of the Convention of Virginia, 302 (2d ed., 1805)

(Reply Att. 18) (reflecting James Madison’s understanding that “invasion” means “invasion from

other states, as well as from foreign powers”). The Self-Defense Clause’s narrow applicability is



6
  Amicus the Immigration Reform Law Institute (“IRLI”) agrees that identifying an “invasion” is
a political question, but wrongly asserts that as a result the Court must accept Texas’s claim of
invasion as valid. ECF 33 at 5-7. The Constitution does not commit this issue to Texas’s sole
discretion. Several constitutional provisions assign the federal government—not states—the
authority to recognize and respond to invasions. See U.S. Const. art. I., § 8, cl. 15 (power to call
forth militia), art. I, § 9, cl. 2 (power to suspend habeas corpus). Indeed, numerous courts have
found (and IRLI concedes) that the Self-Defense Clause’s corresponding provision at U.S.
Const. art. IV, § 4 commits the question whether an invasion has occurred to the federal
government. ECF 33 at 4, 5; California, 104 F.3d at 1091; New Jersey, 91 F.3d at 469.
7
  Texas tries to find support (Opp. 18) in Justice Scalia’s partial dissent in Arizona. But even that
opinion acknowledged the irrelevance of the Self-Defense Clause to Arizona’s power to respond
to unlawful immigration. 567 U.S. at 419 (Scalia, J., concurring in part and dissenting in part).

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evident from the extraordinary powers it unlocks when triggered: A state that has been “actually

invaded” may “engage in War,” even without Congress’s consent. U.S. Const. art. I, § 10, cl. 3;

cf. ECF 33 at 7-8 (brief of amicus IRLI arguing that once Texas decides, in its sole discretion,

that it has been “actually invaded,” it is subject to no federal oversight of its “chosen means of

waging war”). It is implausible that the Constitution would so substantially undermine its

vesting of the war powers in the federal government by permitting states to unilaterally take

these actions in response to immigration by individuals.

       For all these reasons, the Court should reject Texas’s invitation to write an “unlawful

immigration” exception into the RHA, as it should reject the rest of Texas’s merits arguments.

The United States is likely to succeed on the merits.

II.    Preliminary Injunctive Relief Is Warranted to Address Texas’s RHA Violations.

       Because this suit seeks to enforce a violation of a public-interest statute, the Court may

grant a preliminary injunction based solely on the United States’ likelihood of success on the

merits. Mot. 12-13. Texas does not contest this principle in its Opposition and has therefore

forfeited any arguments against it.

       But to the extent this Court considers all the traditional equitable factors, each favors a

preliminary injunction. Mot. 13-19. The irreparable harm to the United States if the Floating

Barrier remains in place, or if Texas builds additional barriers, is far from “speculative.” Opp.

21. The harm to the United States’ conduct of foreign relations is immediate and ongoing, as the

evidence shows.8 Texas’s conduct is already “the subject of diplomatic concern between Mexico

and the United States,” and has concretely disrupted the countries’ cooperative efforts to manage

the delivery of water to the United States. Quam Decl. ¶ 3; Pena Decl. ¶¶ 16-18, 25. Since the


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 Texas also fails to dispute any harm to federal agency operations on the Rio Grande that the
U.S. established in its opening motion. Opp. 21-22; see Mot. 3, 6-7, 15

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United States filed its motion, removal of the Floating Barrier has remained a top-priority issue

in foreign relations between the two nations, see Quam Decl. (August 15, 2023) ¶¶ 3, 4 (Reply

Att. 19), and that concern has only been exacerbated by the knowledge that the bulk of this

unlawful structure is actually located in Mexican territory, ECF 32. That the harm might become

worse without injunctive relief does not mean no harm is occurring now. Only the prompt

removal of the entire Floating Barrier will remedy this harm.

       Finally, the public interest and balance of equities favor preliminary relief. Mot. 16-19.

The United States is merely seeking to enforce Congress’s clear command in Section 10 of the

RHA. Texas’s invocation of “[c]onsiderations of federalism,” Opp. 22, rings hollow in light of

Arizona’s holding that states may not “undermine federal law” in pursuit of their own preferred

immigration policies. See 567 U.S. at 416. “There is no question” that the United States’

authority under the RHA “is superior to that of the States” to implement policies they allege will

“provide for the welfare or necessities of their inhabitants.” Sanitary Dist. of Chicago v. United

States, 266 U.S. 405, 426 (1924) (Holmes, J.).

III.   The United States Requests Only a Return to the Status Quo.

       Texas contends (Opp. 8) that the United States carries a heavier burden because it seeks a

“mandatory injunction” that “goes well beyond simply maintaining the status quo pendente lite.”

Martinez v. Mathews, 544 F.2d 1233, 1243 (5th Cir. 1976). On the contrary, the United States’

motion seeks to restore the “last peaceable uncontested status existing between the parties before

the dispute developed,” which is the generally accepted meaning of status quo. See Nova Health

Sys. v. Edmondson, 460 F.3d 1295, 1298 n.5 (10th Cir. 2006); cf. Wages & White Lion Invs.,

LLC v. U.S. Food & Drug Admin., 16 F.4th 1130, 1144 (5th Cir. 2021). The relevant status quo

is the state of affairs before Texas deployed its unlawful barrier in the Rio Grande.




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       Developments since the United States’ motion was filed do not alter the appropriateness

of the relief requested in the Motion. While it is now clear that the Floating Barrier straddles an

international border, it remains a single, integrated structure whose prompt and safe removal can

best be effected in a single operation. The Government of Mexico has requested that the United

States effectuate removal of the entire Floating Barrier and associated materials, including the

portion of the barrier located in Mexico’s territory, in coordination with the IBWC. An order

requiring removal of the entire Floating Barrier by Defendants in coordination with the IBWC,

as well as the Corps, will enable the United States to fulfill that request. This Court should so

order. Further, as our Motion requests, the Court should enter prohibitory injunctive relief that

prevents Texas from building additional structures in the Rio Grande (for which it has publicly

announced plans) without authorization from the Corps.

                                         CONCLUSION

       The Court should grant the United States’ motion for a preliminary injunction.

                                                   Respectfully submitted,

 Dated: August 16, 2023

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                                 CERTIFICATE OF SERVICE

       I certify that on August 16, 2023, a copy of this filing was served on all counsel of record

using this Court’s electronic filing system.

                                                     /s/ Brian H. Lynk
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